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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                        Chapter 11

ASHINC CORPORATION, et al.,                   Case No. 12-11564 (CSS)

         Debtors.                             (Jointly Administered)
CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET.
AL., AS SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS
OF ASHINC CORPORATION, AND ITS
AFFILIATED DEBTORS,
                                              Adv. Proc. No. 13-50530 (CSS)
                     Plaintiff,

BDCM OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., and SPECTRUM
INVESTMENT PARTNERS, L.P.,

                     Intervenors,

                v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                     Defendants.




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CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET
AL., AS SUCCESSOR TO BDCM
OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., SPECTRUM
INVESTMENT PARTNERS, L.P., BLACK                    Adv. Proc. No. 14-50971 (CSS)
DIAMOND COMMERCIAL FINANCE, L.L.C.,
as co-administrative agent, and SPECTRUM
COMMERCIAL FINANCE LLC, as co-
administrative agent,

                         Plaintiff,

                v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                        Defendants.

           REQUEST FOR ORAL ARGUMENT ON MOTION OF YUCAIPA
          AMERICAN ALLIANCE FUND I, L.P. AND YUCAIPA AMERICAN
    ALLIANCE (PARALLEL) FUND I, L.P. FOR ENTRY OF AN ORDER PURSUANT
    TO 28 U.S.C. § 157(D) AND BANKRUPTCY RULE 5011(A) WITHDRAWING THE
                    REFERENCE OF ADVERSARY PROCEEDINGS

                    Defendants Yucaipa American Alliance Fund I, L.P. and Yucaipa American

 Alliance (Parallel) Fund I, L.P. (collectively, “Yucaipa”), hereby requests oral argument as soon

 as possible on the Motion of Yucaipa American Alliance Fund I, L.P. and Yucaipa American

 Alliance (Parallel) Fund I, L.P. for Entry of an Order Pursuant to 28 U.S.C. § 157(d) and

 Bankruptcy Rule 5011(a) Withdrawing the Reference of Adversary Proceedings. [Adv. 13-50530,

 Adv. Docket No. 890; Adv. 14-50971, Adv. Docket No. 625] (the “Motion to Withdraw the

 Reference”), once the matter is docketed with the District Court. Yucaipa respectfully submits

 that oral argument before the District Court may aid the decisional process. Trial in the above-

 captioned adversary proceedings is scheduled for February 7, 2022 before the Bankruptcy Court,




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and Yucaipa respectfully submits that oral argument should be held expeditiously given the

upcoming trial.


 Dated: November 22, 2021               PACHULSKI STANG ZIEHL & JONES LLP

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                                        -and-

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